            Case 2:20-cr-00074-cr Document 25 Filed 11/09/20 Page 1 of 2




                              UNITED STATES DISTRICT COURT                       2121 HOV -9 PH l: 06
                                        FOR THE
                                  DISTRICT OF VERMONT
                                                                                BY        C~
                                                                                     Of PU r ·y· CL.EH·,~
UNITED STATES OF AMERICA,                      )
                                               )
                V.                             )              Case No. 2:20-CR-00074
                                               )
RY AN BEAULIEU,                                )
      Defendant                                )


                                                     ORDER

        On November 6, 2020, Defendant moved to extend the date for filing pretrial motions to

December 7, 2020. This is the first request for an extension. The government does not oppose

this motion.

        The extension is needed because defense counsel has received a large quantity of

discovery in this case and is still awaiting a forensic report from the government regarding the

electronic devices seized. Upon receipt of the forensic report, counsel will need time to review

the report with Mr. Beaulieu and with the defense forensic expert before determining what if any

pretrial motions to file.

        The Court, having considered this application, finds that the failure to grant this

continuance would unreasonably deny the defendant the reasonable time necessary for effective

preparation, taking into account the exercise of due diligence. 18 U.S.C. § 316l(h)(7)(B)(iv).

The Court further finds that the ends of justice served by taking this action outweigh the best

interests of the public and the defendant in a speedy trial. 18 U.S.C. § 316l(h)(7)(A). Finally,

the Court finds that the additional time granted will be, and is, excluded from computation under

the Speedy Trial Act. 18 U.S.C. § 316l(h)(7)(A).
          Case 2:20-cr-00074-cr Document 25 Filed 11/09/20 Page 2 of 2




     Accordingly, the defendant's Motion is GRANTED. Pretrial motions are to be filed by

December 7, 2020.
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Dated at Burlington, Vermont this/;_ day of November, 2020.




                                         ~United States District Judge
